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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Thomas Wagner, et al.,                                Case No. 1:08-cv-00869-SSB-TSH

        Plaintiffs,

v.
                                                          NOTICE OF SETTLEMENT
Capital Management Services, LP,

        Defendant.


        Now come Plaintiffs, by and through counsel, and hereby give notice that the parties in

the above-captioned matter reached a settlement. Plaintiffs anticipate filing a Notice of

Dismissal with Prejudice in the near future.



                                               RESPECTFULLY SUBMITTED,

                                               Macey & Aleman, P.C.

                                               By: /s/ Richard J. Meier
                                                  Richard J. Meier
                                                  233 South Wacker Drive, Suite 5150
                                                  Chicago, IL 60606
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  Case: 1:08-cv-00869-SSB-TSH Doc #: 3 Filed: 02/17/09 Page: 2 of 2 PAGEID #: 10




                                  CERTIFICATE OF SERVICE

       I hereby certify that, on February 17, 2009, a copy of the foregoing Notice was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt.

Capital Management Services, LP
726 Exchange St., Suite 700
Buffalo, NY 14210


                                               /s/ Richard J. Meier
